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Attorneys for Defendant Comcast Corporation


                                  UNITED STATES DISTRICT COURT
                                DISTRICT OF UTAH, CENTRAL DIVISION


 BRIAN BAKER, on behalf of himself and all                 NOTICE OF REMOVAL
 others similarly situated,

                   Plaintiff,                            Civil No. 2:19-cv-00652-HCN

            vs.                                           Judge Howard C. Nielson, Jr.
 COMCAST CORPORATION,
                                                  (Removed from Third Judicial District Court in
                   Defendant.                        and for Salt Lake County, State of Utah,
                                                              Case No. 190906369)

           Comcast Corporation (“Comcast”) gives this Court notice of removal of the above-

captioned action now pending as Civil No. 190906369 in the Third Judicial District Court for Salt

Lake County, Utah (the “State Court Action”). In support thereof, Comcast states as follows:




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           1.      On August 14, 2019, Plaintiff Brian Baker filed his complaint in the State Court

Action.

           2.      Plaintiff served Comcast with a summons and the complaint (but not the

complaint’s exhibits) on August 16, 2019. A copy of the summons and complaint are attached

hereto as Exhibit 1. 1 No other process, pleadings, or orders have been served on Comcast.
           3.      The complaint includes one cause of action, for breach of contract. Plaintiff alleges

that Comcast offered “‘lifetime’ contracts to some of its customers . . . especially in cities and

neighborhoods where Google was aggressively offering” a competing service. (Compl. ¶ 10.) One

of those cities was Salt Lake City. (Id. ¶ 9.) “A few years later, Comcast began to renege on the

‘lifetime’ contracts and increase prices,” which was a breach of contract. (Id. ¶¶ 36, 38. 2) Plaintiff

seeks to represent a nationwide class of similarly situated Comcast customers. (Id. ¶ 38. 3)

           4.      Comcast now removes the State Court Action to the United States District Court

for the District of Utah, which encompasses the Third Judicial District Court for Salt Lake County,

Utah, where the State Court Action is pending. 28 U.S.C. § 1441(a). A civil cover sheet is attached

as Exhibit 3.

           5.      Removal of the State Court Action to this Court is proper under 28 U.S.C. § 1441(a)

and the Class Action Fairness Act of 2005, id. § 1332(d) (“CAFA”), because (1) this action “is a

class action in which . . . any member of a class of plaintiffs is a citizen of a State different from

any defendant,” (2) the number of putative class members is not less than 100, and (3) “the matter

in controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs.” Id.

§ 1332(d)(2)(A); id. § 1332(d)(5)(B).



1
  Despite not being served by Plaintiff with the complaint’s exhibits, we have obtained copies of
the entire case file from the Third District Court and have attached the documents as Exhibit 2.
2
  The complaint sometimes repeats paragraph numbers. This cite is to the second ¶ 38, on page 7.
3
  This cite is to the first ¶ 38, on page 6.


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           6.      Plaintiff’s allegations satisfy all three of CAFA’s requirements. See McPhail v.

Deere, 529 F.3d 947 (10th Cir. 2008).

           7.      First, Plaintiff alleges that he and Comcast are citizens of different states. He alleges

that he is resident of Utah who arranged for lifetime Comcast service in Utah (Compl. ¶¶ 4, 49),

so he is domiciled in Utah and he is a citizen of Utah. Smith v. Cummings, 445 F.3d 1254, 1260

(10th Cir. 2006). Plaintiff alleges Comcast “is a Pennsylvania corporation with its principal place

of business in Philadelphia, Pennsylvania” (Compl. ¶ 5), so Comcast is a citizen of Pennsylvania.

28 U.S.C. § 1332(c)(1). 4
           8.      Second, Plaintiff alleges that the class has 100 or more putative class members.

Specifically, Plaintiff alleges that “the members of the Class number in the thousands.” (Cmplt. ¶

41.)

           9.      Third, Plaintiff alleges that more than $5 million is in controversy when “the claims

of the individual class members [are] aggregated.” Id. § 1332(d)(6). Plaintiff alleges that class

member damages range from $10 to $50 per month, and he alleges that there are approximately

40,000 class members in Utah alone (Compl. ¶¶ 11, 37), leading to annual damages in Utah alone

of $4.8 million to $24 million. Thus, Plaintiff alleges that damages for lifetime contracts in all

states exceed $5 million.

           10.     This Notice of Removal is timely under 28 U.S.C. § 1446(b) because it is filed

within thirty days after Comcast was served with a copy of the complaint, which was the initial

pleading setting forth the claims for relief upon which the State Court Action is based.

           11.     Comcast will give prompt written notice of the filing of this Notice Removal to

counsel for Plaintiff and will file a copy of the Notice of Removal with the Clerk of the Third

4
 The proper defendant in this case is Comcast Cable Communications, LLC rather than Comcast
Corporation, which is a holding company and is not involved in the day-to-day operations of its
subsidiaries. If Plaintiff had named Comcast Cable Communications, LLC as the defendant, the
parties would still have been diverse in citizenship, as all of Comcast Cable Communications,
LLC’s members are citizens of Pennsylvania.


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Judicial District Court for Salt Lake County pursuant to 28 U.S.C. § 1446(d). Attached as Exhibit

4 is the notice filed with the Clerk of the Third Judicial District Court contemporaneously with

this Notice of Removal.

           DATED this 13th day of September, 2019.

                                                 Snell & Wilmer L.L.P.



                                                 /s/ Michael A. Gehret
                                                 Michael A. Gehret
                                                 Scott A. Wiseman
                                                 Attorneys for Defendant Comcast Corporation




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                                  CERTIFICATE OF SERVICE
           I hereby certify that on September 13, 2019, the foregoing NOTICE OF REMOVAL was

delivered to all counsel for parties at interest in this cause by placing a true and correct copy of the

same in the United States mail, postage prepaid, in a properly addressed envelope, and by email,

as follows:

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                                                        /s/ Michael A. Gehret




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